Case 2:10-md-02179-CJB-DPC Document 5214-16 Filed 01/16/12 Page 1 of 3




                             EXHIBIT 16

                             In Support of

            United States’ Reply to Defendants’ Oppositions to
     United States’ Second Motion for Partial Summary Judgment and
     United States’ Response to Cross-Motions for Summary Judgment
Case 2:10-md-02179-CJB-DPC Document 5214-16 Filed 01/16/12 Page 2 of 3
                                                                         337

 1                UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA
 2
 3     IN RE:    OIL SPILL           )     MDL NO. 2179
       by the OIL RIG,               )
 4     DEEPWATER HORIZON in          )     SECTION "J"
       the GULF OF MEXICO,           )
 5     April 20, 2010                )     JUDGE BARBIER
                                     )
 6                                   )     MAG. JUDGE
                                     )     SHUSHAN
 7
 8                            VOLUME 2
 9
10
11
12
13
14
15
16
17
            Deposition of MICHAEL BEIRNE, taken at
18     Pan-American Building, 601 Poydras Street,
       11th Floor, New Orleans, Louisiana, 70130, on
19     June 28, 2011.
20
21
22
23
24
25



                PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 5214-16 Filed 01/16/12 Page 3 of 3
                                                                                    391

09:40:15   1      Anadarko, it wasn't seeking input from
09:40:18   2      Anadarko on the well design, was it?
09:40:21   3             MR. BOLES:     Object to the form.
09:40:22   4             A.       Which AFE are you -- are you --
09:40:27   5             Q.       (BY MS. KUCHLER)      The original
09:40:28   6      AFE for -- that set forth the design and
09:40:31   7      initial plan for the well.        When that was
09:40:36   8      presented by BP to Anadarko, it was for the
09:40:38   9      purpose of Anadarko funding its share of the
09:40:40 10       cost s, right?
09:40:41 11              MR. BOLES:     Object to the form.
09:40:42 12              A.       No, ma'am.     It was showed to
09:40:44 13       them several times prior to them executing
09:40:49 14       it.   So I'm not sure exactly which instance
09:40:51 15       you're referring to of when it was presented
09:40:54 16       to them.     They certainly had the ability to
09:40:56 17       provide input.
09:40:59 18              Q.       (BY MS. KUCHLER)      When BP
09:41:03 19       submitted an AFE or a supplemental AFE or
09:41:07 20       even the -- let me rephrase that.
09:41:14 21                       If you would look, please, at
09:41:16 22       Tab 19.     It's your testimony before the
09:41:18 23       marine board, Page 82.
09:41:23 24              A.       Is there a green tab that you
09:41:27 25       want me to --


                            PURSUANT TO CONFIDENTIALITY ORDER
